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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF DELAWARE


 PATRICK PLUMLEY, Individually and On          )
 Behalf of All Others Similarly Situated,      )
                                               )
                        Plaintiff,             )   Case No. 1:20-cv-00496-MN
                                               )
        v.                                     )
                                               )
 TETRAPHASE PHARMACEUTICALS,                   )
 INC., L. PATRICK GAGE, LARRY                  )
 EDWARDS, GAREN BOHLIN, STEVEN                 )
 BOYD, JEFFREY A. CHODAKEWITZ,                 )
 JOHN G. FREUND, GERRI HENWOOD,                )
 GUY MACDONALD, KEITH MAHER,                   )
 NANCY J. WYSENSKI, ACELRX                     )
 PHARMACEUTICALS, INC., and                    )
 CONSOLIDATION MERGER SUB, INC.,               )
                                               )
                        Defendants.            )

                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff hereby

voluntarily dismisses the above-captioned action (the “Action”) without prejudice. Defendants

have filed neither an answer nor a motion for summary judgment in the Action, and no class has

been certified in the Action

 Dated: June 9, 2020                               RIGRODSKY & LONG, P.A.

                                             By: /s/ Brian D. Long
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